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                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                IN THE UNITED STATES BANKRUPTCY COURT                                    November 13, 2024
                   FOR THE SOUTHERN DISTRICT OF TEXAS                                     Nathan Ochsner, Clerk
                             HOUSTON DIVISION
__________________________________________
                                           )
IN RE:                                    )
                                          )
SHEPHERD-HULDY DEVELOPMENT I,             )  Case No. 24-32146
LLC,                                      )
                                          )  Chapter 11
            Debtor.                       )
__________________________________________)

                ORDER AUTHORIZING EMPLOYMENT OF ATTORNEY

       Upon the application (the “Application”) of the Debtor Shepherd-Huldy Development I,

LLC (the “Debtor”) for entry of an order authorizing the employment and retention of the Law

Offices of Kevin Madden (the “Firm”), effective as of May 6, 2024, as Debtor’s bankruptcy

counsel, pursuant to 11 U.S.C. § 327(a), is of the opinion that the requested relief is in the best

interest of the estate and its creditors; that the Firm represents no interest adverse to the estate in

the matters upon which they are to be engaged and are disinterested persons within the definition

of 11 U.S.C. § 101(14); and that the application should be approved. Accordingly, it is therefore

       ORDERED THAT:

       1.      The Debtor is authorized, pursuant to section 327(a) and 330 of the Bankruptcy

Code, Bankruptcy Rules 2014 and 2016, and Bankruptcy Local Rules 2014-1 and 2016-1, to

employ and retain the Firm as bankruptcy counsel, effective as of May 6, 2024, in accordance with

the Application.

       2.      Kevin M. Madden is designated as attorney in charge for the representation by the

Firm of the Debtor in this case.

       3.      All applications for compensation shall be filed with the Court in accordance with

the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure.


                         November
                          April 04, 13,
                                    20182024
